DAVID BURCHARD
CHAPTER 13 TRUSTEE
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                                  UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA

In re:                                                               Chapter 13
                                                                     Case No: 17-10068 DM
MAURO and MANDY LOPEZ
6663 HIGHLAND CIR
KELSEYVILLE, CA 95451
                                             Debtor(s)

         STIPULATION RE: TRUSTEE’S MOTION TO DISMISS CASE POST-CONFIRMATION

         The Chapter 13 Trustee has filed a Motion to Dismiss Case Under 11 U.S.C. §1307(c) and set the
matter for hearing on November 3, 2020 at 9:00 AM.

           It is hereby stipulated and agreed to, by and between the Debtor and the Chapter 13 Trustee, as
follows:

The hearing on the Trustee’s Motion to Dismiss shall be continued to December 9, 2020 at 9:00 AM and will
be conducted via telephone or video. All interested parties should consult the Bankruptcy Court’s website at
www.canb.uscourts.gov for information about court operations during the COVID-19 pandemic. The
Bankruptcy Court’s website provides information regarding how to arrange a telephonic or video appearance.
If you have any questions regarding how to appear at a court hearing, you may contact the Bankruptcy Court
by calling 888-821-7606 or by using the Live Chat feature on the Bankruptcy Court’s website.

In addition, on or before November 18, 2020 the Debtor shall:

           __X__ pay $5,126.00 to the Trustee or

           __X__ file a motion to modify the Chapter 13 plan, bringing the plan payments current.

           _____ file updated Schedules I and J, utilizing the schedules effective December 2015.

           _____ provide a signed copy of the ______ federal income tax return.

           _____ other:

         If the Debtor fails to comply with the above, the Debtor stipulates that the case may be dismissed on
request of the Trustee.

It is hereby stipulated.

DATED: 10/23/20                                      /s/ David Burchard              ______
                                                     David Burchard, Chapter 13 Trustee

DATED:                                               /s/ Evan Livingstone
                                                     Evan Livingstone
                                                     Attorney for Debtors




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